      Case 1:23-cv-01091-MIS-SCY Document 28 Filed 05/21/24 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


                                                       )
SAMARITAN MINISTRIES INTERNATIONAL,                    )
a religious Illinois non-profit corporation,           )
    6000 N. Forest Park Drive                          )
    Peoria, Illinois 61614,                            )
                                                       )
   and ten of its New Mexico members, namely,          )
                                                       )    Case No. 1:23-cv-1091-MIS-
ZACHARY & RACHEL CORDEL, 662 CR F,                     )    SCY
Clovis, New Mexico 88101,                              )
                                                       )
DAVID ALLAN & MONETTE BELL, 3 Mountain                 )    Jury Trial Requested
Vista Trail, La Luz, NM 88337,                         )
                                                       )
REV. ANDREW & HEATHER HEATH, 1310                      )
Meadow Lane, Roswell, NM 88203,                        )
                                                       )
JAY & AMY O’NEILL, 275 Blue Sky Lane, Mesilla          )
Park, NM 88047, and                                    )
                                                       )
REV. NATHAN & REBEKAH BIENHOFF, 3501                   )
Highland Road, Roswell, NM 88201,                      )    PLAINTIFFS’ MOTION
                                                       )    TO EXCEED WORD
                       Plaintiffs,                     )    COUNT ON NOTICE OF
           v.                                          )    SUPPLEMENTAL
                                                       )    AUTHORITIES
ALICE T. KANE, in her personal capacity and in her     )
official capacity as the Superintendent of Insurance   )
for New Mexico, 1120 Paseo de Peralta 4th Floor,       )
Santa Fe, NM 87501,                                    )
                                                       )    Oral Argument Requested
                       Defendant.                      )    on the Pending Motions
                                                       )


       COME NOW Plaintiffs, under Local Rule 7.8, and request leave to file the attached

Second Notice of Supplemental Authority, exceeding 350 words, to explain the relevance of

Does 1-11 v. Bd. of Regents, ___ F.4th ___, 2024 WL 2012317 (10th Cir. May 7, 2024).

          Dated this 21st day of May, 2024



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                                         Respectfully submitted,

                                         COUNSEL FOR PLAINTIFFS

                                         GAMMON & GRANGE, P.C.

                                          /s/ J. Matthew Szymanski
                                         _______________________
                                         J. Matthew Szymanski, Esq.
                                         Bar No. 23-267 (lead counsel)
                                         Ph./Fx. (703) 761-5030
                                         JMS@gg-law.com

                                         Scott J. Ward, Esq.
                                         Bar No. 23-361 (co-counsel)
                                         Ph./Fx. (703) 761-5012
                                         SJW@gg-law.com
                                         1945 Old Gallows Road, Suite 650
                                         Tysons, VA 22182

                                         J. BRIAN HELLER, P.C.

                                         J. Brian Heller, Esq.
                                         Associated Counsel (as of 1/9/2024)
                                         200 Walnut Street
                                         Washington, Illinois 61571
                                         jbhpc@comcast.net
                                         Ph. (309) 444-9223
                                         Fx. (309) 444-9723




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